          Case 1:18-cv-00862-TCW Document 74 Filed 07/18/18 Page 1 of 2



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                     Bid Protest

                                                   )
FMS INVESTMENT CORP. et al.,                       )
               Plaintiffs,                         )
                                                   )       Nos. 18-862 et al.
                  v.                               )
                                                   )       Judge Wheeler
THE UNITED STATES,                                 )
                Defendant, and                     )
                                                   )
ALLTRAN EDUCATION, INC.,                           )
              Defendant-Intervenor.                )
                                                   )

                ALLTRAN EDUCATION, INC.’S OPPOSITION TO
      PLAINTIFFS’ JOINT MOTION FOR TEMPORARY RESTRAINING ORDER

        As discussed during the July 13 telephonic hearing in this case, the current motion before

the Court is virtually identical to a series of earlier motions that this Court already denied. See

Dkt. No. 24 (June 26, 2018 Order denying requests for temporary restraining order and

preliminary injunction). The only difference is the Plaintiffs now ask this Court to reverse itself

because the Senate Committee on Appropriations included certain language in a report on

pending legislation—legislation that has not yet even become law. See Dkt. No. 60. That

language, though, has no legal effect, and thus provides no basis for this Court to reverse its

earlier ruling.

        The Constitution prescribes a specific process through which legislation becomes law:

both houses of Congress must pass a particular piece of legislation and then submit that

legislation to the President for approval. See Const., Art. I, § 7. Until that legislation is signed

by the President (or passed by two-thirds of both houses, if vetoed), the legislation has no effect.

Id. Consistent with this centuries-old process, the Supreme Court has repeatedly emphasized

that the iterative steps leading up to a bill’s passage—including statements and reports of



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         Case 1:18-cv-00862-TCW Document 74 Filed 07/18/18 Page 2 of 2



Congressional committees—do not themselves have any legal effect. See, e.g., Am. Hosp. Ass’n

v. N.L.R.B., 499 U.S. 606, 616 (1991) (“Petitioner does not-and obviously could not-contend that

this statement in the Committee Reports has the force of law, for the Constitution is quite explicit

about the procedure that Congress must follow in legislating.”); Tenn. Valley Auth. v. Hill, 437

U.S. 153, 191 (1978) (“Expressions of committees dealing with requests for appropriations

cannot be equated with statutes enacted by Congress . . . .”); Thompson v. Cherokee Nation of

Oklahoma, 334 F.3d 1075, 1087 (Fed. Cir. 2003) (emphasizing that language in committee

reports by Senate and House Appropriations Committees “is not binding”), aff’d and remanded

sub nom. Cherokee Nation of Oklahoma v. Leavitt, 543 U.S. 631, 646 (2005) (“restrictive

language contained in Committee Reports is not legally binding”).

       Here, the committee report language cited in Plaintiffs’ motion is not itself law; nor has

the bill to which it relates been passed by both houses of Congress or presented to the President.

Accordingly, the language has no legal effect and provides no basis for this Court to reverse its

prior ruling. Plaintiffs’ motion should once again be denied, and the Department of Education

should be allowed to administer its contracts without further interference in this case.


           July 18, 2018                          Respectfully submitted,

                                                  s/ Daniel R. Forman
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